Case 2:04-cr-20392-SH|\/| Document 71 Filed 04/21/05 Page 1 of 2 Page|D 92

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IN THE UNITED sTATEs DISTRICT coURT ,q y
FoR THE wEs-rERN DISTRICT oF TENNESSEE U‘* f‘-' £:`1 ;.:; l
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UNITED STATES OF AMERICA,

Plaintiff,
CR. NO. 04-20392-02-Ma

VS.

SHERRELLE COATS ,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on Marcb 25, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and Continued the trial date to
the rotation docket beginning May 2, 2005 at 9:30 a.m., witb a
report date of Thursday, April 21, 2005 at 2:00 p.m.

The period. fronl March 25, 2005 througb. May 13, 2005 is
excludable under 18 U.S.C. § BlSl(h)(S)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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IT IS SO ORDERED this day Of April, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Th!s document entered on the docket sneY/n wymaan
With Rule 55 and/or 32(b) FRCrP on . 'G

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 71 in
case 2:04-CR-20392 Was distributed by faX, mail, or direct printing on
April 21 , 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

